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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  JUAN LOZADA-LEONI,                 §
                                     §
      Plaintiff,                     §
                                     §
  v.                                 §
                                     §                   Civil Action No. 4:20-cv-00068-RWS-CMC
  MONEYGRAM INTERNATIONAL, INC., and §
  MONEYGRAM PAYMENT SYSTEMS, INC. §
                                     §
      Defendants.                    §


                   MONEYGRAM INTERNATIONAL, INC.’S MOTION
                  FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT

         Defendant MoneyGram International, Inc. (“MGI”) files this Motion for Summary

  Judgment and Brief in Support (“Motion”) and states:

                       STATEMENT OF THE ISSUE TO BE DECIDED

         1.     This is a SOX whistleblower lawsuit brought by Plaintiff Juan Lozada-Leoni

  (“Plaintiff”) against his former employer, MoneyGram Payment Systems, Inc. (“MPSI”) and its

  parent company, MGI. The case has been pending, first before OSHA, then the Department of

  Labor, and now in this Court, since 2017. The procedural history is complex, and has been set

  forth in detail in prior briefing. However, the sole question presented by this Motion is simple:

  may Plaintiff seek relief against MGI under the Sarbanes-Oxley Act despite the fact that he was

  not employed by MGI? The Supreme Court has answered this question directly; he may not.

  Because the undisputed evidence establishes that Plaintiff was employed by – and only by – MPSI,

  and alternatively because Plaintiff has no evidence that MGI ever employed him, the Court should

  grant the Motion and dismiss Plaintiff’s claim against MGI with prejudice.




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                        STATEMENT OF UNDISPUTED MATERIAL FACTS

          2.       Plaintiff began working for MPSI in October 2016. [Exh. 1(Dkt. No. 21 ¶¶ 4, 24).]1

  MPSI is, and has been at all relevant times, a privately held subsidiary of MGI. [Id. ¶¶ 5-6.] MPSI

  was Plaintiff’s employer at all times. [Exh. 2 (Dkt. No. 20 at p. 1).]2 Plaintiff worked for MPSI for

  approximately six months before it terminated his employment. [Exh. 3 (Dkt. No. 19 at p. 4).]3

  MPSI sent Plaintiff his offer letter of employment, which he received and accepted in 2016. [Exh.

  4 (Weathers Declaration ¶ 4 and its Exh. 1).]4 Plaintiff testified about his understanding that MPSI

  was his employer:

          Q:       Okay. And, sir, my name is John Barcus, I’m with the Ogletree Deakins
                   Law Firm and I represent MoneyGram Payment Systems, Incorporated. Do
                   you understand that?

          A:       I do.

          Q:       And if I refer in this deposition simply to “MoneyGram,” do you understand
                   that I mean the entity that was your former employer, MoneyGram Payment
                   Systems, Incorporated?

          A:       I do.

  [Exh. 5 (Lozada Dep. 4:10 – 5:1).]5 Plaintiff has never been employed by MGI. [Ex. 4 (Weathers

  Declaration ¶ 5).]

          3.       Plaintiff has alleged that, during the course of his employment with MPSI, he

  complained about what he believed were alleged improprieties in MGI’s business operations.

  [Exh. 1 (Dkt. No. 21 ¶¶ 54-61).] In particular, he alleges that he complained to Christopher Ponder


  1 Relevant excerpts from Plaintiff’s Second Amended Complaint (Dkt. No. 21) are attached hereto as Exhibit 1.
  2 Relevant excerpts from Plaintiff’s Unopposed Motion for Leave to File a Second Amended Complaint “to add MPSI
  as a Defendant in this matter” are attached hereto as Exhibit 2.
  3 Relevant excerpts from Plaintiff’s Response in Opposition to All Defendants’ Jurisdictional Motions are attached
  hereto as Exhibit 3.
  4 The Declaration of Elizabeth Weathers-Nguyen, previously filed as Exhibit 1 to Defendant MoneyGram
  International, Inc.’s Motion to Dismiss for Improper Venue, or Alternatively, Motion to Transfer Venue, and Brief in
  Support (Dkt. No. 5), is attached hereto as Exhibit 4.
  5 Excerpts from the May 23, 2018, deposition testimony of Plaintiff are attached hereto as Exhibit 5.


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  (“Ponder”) and Juan Manuel Gonzalez (“Gonzalez”). [Id. ¶ 54 (Ponder), 55 (Gonzalez).] Gonzalez

  was Plaintiff’s supervisor. [Id. ¶ 27.] Gonzalez is the individual who decided to terminate

  Plaintiff’s employment, though he partnered with his H.R. business partner (i.e., Ponder) in that

  decision. [Exh. 6 (Gonzalez 89:9 – 90:14).]6 MPSI also employed Ponder and Gonzalez, and

  neither Ponder nor Gonzalez has ever been employed by MGI. [Exh. 4 (Weathers Declaration ¶

  5); Exh. 6 (Gonzalez 6:4-10).]

                                      ARGUMENT AND AUTHORITY

          4.       Plaintiff has alleged a single cause of action against both Defendants for

  “Retaliation in Violation of the Sarbanes-Oxley Act – 18 USC § 1514A.” [Dkt. No. 21 ¶¶ 88-90.]

  The question presented in this Motion is simple: may MGI be held liable under SOX despite the

  fact that Plaintiff was employed by MPSI and the decision to terminate his employment with MPSI

  was made by MPSI? The answer, plainly, is no, and the Court should grant the Motion and dismiss

  Plaintiff’s claims against MGI.7

  A.      Summary Judgment Standard.

         5.        The purpose of summary judgment is to isolate and dispose of factually

  unsupported claims or defenses. Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). Summary

  judgment is proper under Rule 56(a) of the Federal Rules of Civil Procedure “if the movant shows

  that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). A dispute about a material fact is genuine when “the evidence

  is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty




  6 Excerpts from the January 22, 2019, deposition testimony of Gonzalez are attached hereto as Exhibit 6.
  7 This would leave Plaintiff’s claims against MPSI for trial. As the Court is aware from prior motion practice, MPSI
  contends that Plaintiff’s claims against it fail because he failed to exhaust his administrative remedies. The Court
  denied MPSI’s Rule 12(b)(1) and 12(b)(6) motions on that argument. MPSI reserves and does not waive its right to
  present the “failure to exhaust” defense at trial.

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  Lobby Inc., 477 U.S. 242, 248 (1986). Substantive law identifies which facts are material. Id. The

  trial court “must resolve all reasonable doubts in favor of the party opposing the motion

  for summary judgment.” Casey Enters., Inc. v. Am. Hardware Mut. Ins. Co., 655 F.2d 598, 602

  (5th Cir. 1981).

         6.      The party seeking summary judgment bears the initial burden of informing the court

  of its motion and identifying “depositions, documents, electronically stored information, affidavits

  or declarations, stipulations (including those made for purposes of the motion only), admissions,

  interrogatory answers, or other materials” that demonstrate the absence of a genuine issue of

  material fact. Fed. R. Civ. P. 56(c)(1)(A); Celotex, 477 U.S. at 323. Where the nonmovant bears

  the burden of proof, the movant may discharge the burden by showing that there is an absence of

  evidence to support the nonmovant’s case. Celotex, 477 U.S. at 325; Byers v. Dallas Morning

  News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has carried its burden, the

  nonmovant must “respond to the motion for summary judgment by setting forth particular facts

  indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing Anderson, 477 U.S. at

  248–49). A nonmovant must present affirmative evidence to defeat a properly supported motion

  for summary judgment. Anderson, 477 U.S. at 257. Mere denials of material facts, unsworn

  allegations, or arguments and assertions in briefs or legal memoranda will not suffice to carry this

  burden. Rather, courts require “significant probative evidence” from the nonmovant to dismiss a

  request for summary judgment. In re Mun. Bond Reporting Antitrust Litig., 672 F.2d 436, 440 (5th

  Cir. 1982) (quoting Ferguson v. Nat'l Broad. Co., 584 F.2d 111, 114 (5th Cir. 1978)).

  B.     Plaintiff must prove that MGI employed him.

         7.      To make out a claim under Section 1514A, Lozada must prove each of the

  following elements: (1) he engaged in protected whistleblowing activity; (2) his employer knew



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  that he engaged in the protected activity; (3) he suffered an adverse action; and (4) the protected

  activity was a contributing factor in the adverse action. Halliburton, Inc. v. Administrative Review

  Bd., 771 F.3d 254, 259 (5th Cir. 2014). See, e.g., Wallace v. Andeavor Corp., 916 F.3d 432, 426-

  427 (5th Cir. 2019); Paul v. Cisco Sys., Inc., No. 4:17-cv-00599, 2018 WL 1386863, at *2 (E.D.

  Tex. Feb. 26, 2018).

         8.      As the Fifth Circuit has explained, the “legal burdens of proof” set forth in the

  Aviation Investment and Reform Act “govern SOX whistleblower protections.” Allen v. Admin.

  Review Bd., 514 F.3d 468, 475 (5th Cir. 2008). That Act requires an affected employee to make a

  prima facie showing that his protected activity “was a contributing factor in the unfavorable

  personnel action alleged in the complaint” before the Department of Labor will even open an

  investigation. 42 U.S.C. § 42121(b)(2)(B)(i). If the complainant does so, no investigation “shall

  be conducted if the employer demonstrates, by clear and convincing evidence, that the employer

  would have taken the same unfavorable personnel action in the absence of that behavior.” Id. §

  42121(b)(2)(B)(ii) (emphasis supplied). Simply put, SOX affords relief to employees who engage

  in certain protected activity and then are retaliated against by their employer. MGI was not, and

  has never been, Plaintiff’s employer. May he still maintain a cause of action against MGI under

  SOX?

  C.     MGI is entitled to summary judgment because it was not Plaintiff’s employer.

         9.      The Supreme Court has provided all the guidance necessary to answer this question.

  In Lawson v. FMR LLC, the Court held that “the prohibited retaliatory measures enumerated in §

  1514A(a) – discharge, demotion, suspension, threats, harassment, or discrimination in the terms

  and conditions of employment – are commonly actions an employer takes against its own

  employees.” Lawson, 571 U.S. 429, 441 (2014) (emphasis original). That is, “Congress presumed



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  an employer-employee relationship between the retaliator and the whistleblower.” Id. at 442

  (emphasis supplied). “Employees gain protection for furnishing information to a federal agency,

  Congress, or ‘a person with supervisory authority over the employee (or such other person working

  for the employer who has the authority to investigate, discover, or terminate misconduct.’” Id.

  (emphasis original).

         10.     At the time of the wrongful acts at issue in Lawson, Section 1514A expressly barred

  public companies, or “any employee, contractor, subcontractor, or agent of such company” from

  retaliating against an employee for engaging in whistleblowing activity. 18 U.S.C. § 1514A(a)

  (2006 ed.). The question before the Court was whether a contractor to a public company was barred

  from retaliating against its own employees, or was somehow only barred from retaliating against

  “an employee” of the public company. The Court found the latter interpretation, urged by a

  contractor who was alleged to have retaliated against its own employee, to be inconsistent with

  “the text of the statute and with common sense.” Id. at 443. “The most sensible reading of §

  1514A’s numerous references to an employer-employee relationship between the respondent and

  the claimant is that the provision’s protections run between contractors and their own employees.”

  Id.

         11.     Subsequent to the events at issue in Lawson, but well before the Court issued its

  opinion, the Dodd-Frank amendments made clear that the whistleblower protections in SOX

  extend to subsidiaries of publicly-traded companies. As the Court noted, Section 1514A(a) now

  reads as follows:

         No company with a class of securities registered under section 12 of the Securities
         Exchange Act of 1934 (15 U.S.C. 78l), or that is required to file reports under
         [section 12] of the [1934 Act] (15 U.S.C. § 78o (d)) including any subsidiary or
         affiliate whose financial information is included in the consolidated financial
         statements of such company, or nationally recognized statistical rating
         organization (as defined in section 3(a) of the [1934 Act] [15 U.S.C. 78c), or any


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          officer, employee, contractor, subcontractor, or agent of such company or
          nationally recognized statistical rating organization, may discharge, demote,
          suspend, threaten, harass, or in any other manner discriminate against an employee
          in the terms and conditions of employment because of any [protected activity].

  Lawson, 571 U.S. at 455 (quoting 18 U.S.C. § 1514A(a)) (alterations and emphasis by the Court).

  The Court found that the amendment provided “nothing useful” to its determination of the question

  presented. It is, however, dispositive of Plaintiff’s previously-articulated “joint employer”

  argument.

          12.     Prior to the Dodd-Frank amendments, courts were divided on the question of

  whether the SOX whistleblower rules applied to privately-held subsidiaries of publicly traded

  companies. Some courts, presuming Congressional intent, fashioned a “joint employer” work-

  around to allow employees of subsidiaries to obtain any relief at all, and it is in the context of these

  outdated cases that Plaintiff contends he “can proceed with a SOX claim against a public company

  even though he was employed by its privately-held subsidiary.” [Dkt. No. 32 at p. 8.] The Dodd-

  Frank amendments make clear that a subsidiary of a publicly-traded company is susceptible to suit

  under SOX if it wrongfully retaliates against its employee. Neither MGI nor MPSI disputes that

  MPSI, as Plaintiff’s actual employer, is susceptible to suit (although it denies all of Plaintiff’s

  claims). The Court’s guidance in Lawson makes equally clear that only MPSI is susceptible to suit,

  because no employer-employee relationship ever existed between Plaintiff and MGI. The

  undisputed evidence and judicial admissions establish that MPSI both employed and terminated

  Plaintiff, and that he never had any employment relationship with MGI, affirmatively negating an

  essential element of Plaintiff’s claim. Alternatively, Plaintiff has no evidence that MGI ever

  employed him. The Court should therefore grant the Motion and enter judgment in favor of MGI

  on Plaintiff’s sole cause of action against it.




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                                      RELIEF REQUESTED

         For the foregoing reasons, MGI respectfully requests that the Court grant the Motion; enter

  a take-nothing judgment for MGI and against Plaintiff on Plaintiff’s claims, causes of action, and

  requests for relief alleged against MGI, dismissing the same with prejudice; award MGI its

  reasonable and necessary attorneys’ fees and costs of Court; and grant all other relief, general or

  special, at law or in equity, to which MGI may be justly entitled.

                                                   Respectfully submitted,


                                                   By:   /s/ John M. Barcus
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                                CERTIFICATE OF SERVICE

        The foregoing instrument was filed using the Court’s CM/ECF system on April 14, 2020,
  which will transmit a copy to all counsel of record.

                                                 /s/ John M. Barcus
                                               John M. Barcus




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